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18                                UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
19
20 CALIFORNIA COALITION FOR WOMEN                      Case No. 4:23-cv-04155-YGR
     PRISONERS et al.,
21                                                     STIPULATED [PROPOSED]
                        Plaintiffs,                    PROTECTIVE ORDER
22
                   v.                                  Judge:   Hon. Yvonne Gonzalez Rogers
23
   UNITED STATES OF AMERICA FEDERAL                    Trial Date:         None Set
24 BUREAU OF PRISONS et al.,
25                      Defendants.

26
27
28

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 1 I.              PURPOSES AND LIMITATIONS

 2                 This Stipulated Proposed Protective Order is based on the Court’s model protective order,

 3 downloaded from https://www.cand.uscourts.gov/wp-content/uploads/forms/model-protective-
 4 orders/ND_Cal_Patent_Highly_Sensitive_Model_Prot_Ord_Revised.docx.
 5                 Disclosure and discovery activity in this action are likely to involve production of

 6 confidential, proprietary, or private information for which special protection from public
 7 disclosure and from use for any purpose other than prosecuting this litigation will be warranted.
 8 Accordingly, the parties hereby stipulate to and petition the court to enter the following Stipulated
 9 Protective Order. The parties acknowledge that this Order does not confer blanket protections on
10 all disclosures or responses to discovery and that the protection it affords from public disclosure
11 and use extends only to the limited information or items that are entitled to confidential treatment
12 under the applicable legal principles. The parties further acknowledge, as set forth in Section 14.4,
13 below, that this Stipulated Protective Order does not entitle them to file confidential information
14 under seal; Civil Local Rule 79-5 sets forth the procedures that must be followed and the standards
15 that will be applied when a party seeks permission from the court to file material under seal.
16                 Good cause exists for this Stipulated Protective Order. This action concerns allegations of

17 sexual abuse and retaliation at FCI Dublin, a federal correctional institution. The production of
18 certain materials to counsel warrants special protection from disclosures to the public and the
19 parties and from use for any purpose outside of this action, as it contains, in part, sensitive
20 information pertaining to third-party individuals, including individuals who have a credible fear of
21 ongoing retaliation, and it discloses techniques, procedures and policies relating to enforcing
22 safety and security at the FCI and Satellite Prison Camp (SPC) Dublin. Accordingly, to protect
23 such information, and to ensure that counsel is afforded access to such material, a protective order
24 for such information is justified in this matter.
25 II.             DEFINITIONS

26                 2.1    Challenging Party: a Party or Non-Party that challenges the designation of

27 information or items under this Order.
28                 2.2    “CONFIDENTIAL” Information or Items: information (regardless of how it is

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 1 generated, stored or maintained) or tangible things that qualify for protection under Federal Rule
 2 of Civil Procedure 26(c).
 3                 2.3    Counsel: Outside Counsel of Record (as well as their support staff).

 4                 2.4    Designated House Counsel: House Counsel who seek access to “HIGHLY

 5 CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information in this matter.
 6                 2.5    Designating Party: a Party or Non-Party that designates information or items that it

 7 produces in disclosures or in responses to discovery as “CONFIDENTIAL” or “HIGHLY
 8 CONFIDENTIAL – ATTORNEYS’ EYES ONLY”.
 9                 2.6    Disclosure or Discovery Material: all items or information, regardless of the

10 medium or manner in which it is generated, stored, or maintained (including, among other things,
11 testimony, transcripts, and tangible things), that are produced or generated in disclosures or
12 responses to discovery in this matter.
13                 2.7    Expert: a person with specialized knowledge or experience in a matter pertinent to

14 the litigation who (1) has been retained by a Party or its counsel to serve as an expert witness or as
15 a consultant in this action, (2) is not a past or current employee of a Party or of a Party’s
16 competitor, and (3) at the time of retention, is not anticipated to become an employee of a Party or
17 of a Party’s competitor.
18                 2.8    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or

19 Items: extremely sensitive “Confidential Information or Items,” disclosure of which to another
20 Party or Non-Party would create a substantial risk of serious harm that could not be avoided by
21 less restrictive means.
22                 2.10   House Counsel: attorneys who are employees of a party to this action. House

23 Counsel does not include Outside Counsel of Record or any other outside counsel.
24                 2.11   Non-Party: any natural person, partnership, corporation, association, or other legal

25 entity not named as a Party to this action.
26                 2.12   Outside Counsel of Record: attorneys who are not employees of a party to this

27 action but are retained to represent or advise a party to this action and have appeared in this action
28 on behalf of that party or are affiliated with a law firm which has appeared on behalf of that party.

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 1 For purposes of this Action Outside Counsel of Record refers to the Attorneys from the United
 2 States Attorney’s Office or the District of Montana, subject to change if Outside Counsel of
 3 Record changes.
 4                 2.13   Party: any party to this action, including named parties and putative class members,

 5 and all of a party’s officers, directors, employees (including those on administrative or other leave
 6 status), consultants, retained experts, and Outside Counsel of Record (and their support staffs).
 7                 2.14   Producing Party: a Party or Non-Party that produces Disclosure or Discovery

 8 Material in this action.
 9                 2.15   Professional Vendors: persons or entities that provide litigation support services

10 (e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and
11 organizing, storing, or retrieving data in any form or medium) and their employees and
12 subcontractors.
13                 2.16   Protected Material: any Disclosure or Discovery Material that is designated as

14 “CONFIDENTIAL,” or as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
15                 2.17   Receiving Party: a Party that receives Disclosure or Discovery Material from a

16 Producing Party.
17 III.            SCOPE

18                 The protections conferred by this Stipulation and Order cover not only Protected Material

19 (as defined above), but also (1) any information copied or extracted from Protected Material; (2)
20 all copies, excerpts, summaries, or compilations of Protected Material; and (3) any testimony,
21 conversations, or presentations by Parties or their Counsel that might reveal Protected Material.
22 However, the protections conferred by this Stipulation and Order do not cover the following
23 information: (a) any information that is in the public domain at the time of disclosure to a
24 Receiving Party or becomes part of the public domain after its disclosure to a Receiving Party as a
25 result of publication not involving a violation of this Order, including becoming part of the public
26 record through trial or otherwise; and (b) any information known to the Receiving Party prior to
27 the disclosure or obtained by the Receiving Party after the disclosure from a source who obtained
28 the information lawfully and under no obligation of confidentiality to the Designating Party. Any

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 1 use of Protected Material at trial shall be governed by a separate agreement or order.
 2 IV.             DURATION

 3                 Even after final disposition of this litigation, the confidentiality obligations imposed by this

 4 Order shall remain in effect until a Designating Party agrees otherwise in writing or a court order
 5 otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all claims
 6 and defenses in this action, with or without prejudice; and (2) final judgment herein after the
 7 completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of this action,
 8 including the time limits for filing any motions or applications for extension of time pursuant to
 9 applicable law.
10 V.              DESIGNATING PROTECTED MATERIAL

11                 5.1    Exercise of Restraint and Care in Designating Material for Protection. Each Party

12 or Non-Party that designates information or items for protection under this Order must take care to
13 limit any such designation to specific material that qualifies under the appropriate standards. To
14 the extent it is practical to do so, the Designating Party must designate for protection only those
15 parts of material, documents, items, or oral or written communications that qualify – so that other
16 portions of the material, documents, items, or communications for which protection is not
17 warranted are not swept unjustifiably within the ambit of this Order.
18                 Mass, indiscriminate, or routinized designations are prohibited. Designations that are

19 shown to be clearly unjustified or that have been made for an improper purpose (e.g., to
20 unnecessarily encumber or retard the case development process or to impose unnecessary
21 expenses and burdens on other parties) expose the Designating Party to sanctions.
22                 If it comes to a Designating Party’s attention that information or items that it designated

23 for protection do not qualify for protection at all or do not qualify for the level of protection
24 initially asserted, that Designating Party must promptly notify all other parties that it is
25 withdrawing the mistaken designation.
26                 5.2    Manner and Timing of Designations. Except as otherwise provided in this Order

27 (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered,
28 Disclosure or Discovery

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 1                 Material that qualifies for protection under this Order must be clearly so designated before

 2 the material is disclosed or produced.
 3                 Designation in conformity with this Order requires:

 4                 (a) for information in documentary form (e.g., paper or electronic documents, but

 5 excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing Party
 6 affix the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
 7 ONLY” to each page that contains protected material. If only a portion or portions of the material
 8 on a page qualifies for protection, the Producing Party also must, to the extent practicable, clearly
 9 identify the protected portion(s) (e.g., by making appropriate markings in the margins) and must
10 specify, for each portion, the level of protection being asserted.
11                 A Party or Non-Party that makes original documents or materials available for inspection

12 need not designate them for protection until after the inspecting Party has indicated which material
13 it would like copied and produced. During the inspection and before the designation, all of the
14 material made available for inspection shall be deemed “HIGHLY CONFIDENTIAL –
15 ATTORNEYS’ EYES ONLY.” After the inspecting Party has identified the documents it wants
16 copied and produced, the Producing Party must determine which documents, or portions thereof,
17 qualify for protection under this Order. Then, before producing the specified documents, the
18 Producing Party must affix the appropriate legend (“CONFIDENTIAL” or “HIGHLY
19 CONFIDENTIAL – ATTORNEYS’ EYES ONLY”) to each page that contains Protected
20 Material. If only a portion or portions of the material on a page qualifies for protection, the
21 Producing Party also must clearly identify the protected portion(s) (e.g., by making appropriate
22 markings in the margins) and must specify, for each portion, the level of protection being asserted.
23                 (b) for testimony given in deposition or in other pretrial or trial proceedings, that the

24 Designating Party identify on the record, before the close of the deposition, hearing, or other
25 proceeding, all protected testimony and specify the level of protection being asserted. When it is
26 impractical to identify separately each portion of testimony that is entitled to protection and it
27 appears that substantial portions of the testimony may qualify for protection, the Designating Party
28 may invoke on the record (before the deposition, hearing, or other proceeding is concluded) a right

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 1 to have up to 21 days to identify the specific portions of the testimony as to which protection is
 2 sought and to specify the level of protection being asserted. Only those portions of the testimony
 3 that are appropriately designated for protection within the 21 days shall be covered by the
 4 provisions of this Stipulated Protective Order. Alternatively, a Designating Party may specify, at
 5 the deposition or up to 21 days afterwards if that period is properly invoked, that the entire
 6 transcript shall be treated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
 7 ATTORNEYS’ EYES ONLY.”
 8                 Parties shall give the other parties notice if they reasonably expect a deposition, hearing or

 9 other proceeding to include Protected Material so that the other parties can ensure that only
10 authorized individuals who have signed the “Acknowledgment and Agreement to Be Bound”
11 (Exhibit A) are present at those proceedings. The use of a document as an exhibit at a deposition
12 shall not in any way affect its designation as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL
13 – ATTORNEYS’ EYES ONLY.”
14                 Transcripts containing Protected Material shall have an obvious legend on the title page

15 that the transcript contains Protected Material, and the title page shall be followed by a list of all
16 pages (including line numbers as appropriate) that have been designated as Protected Material and
17 the level of protection being asserted by the Designating Party. The Designating Party shall inform
18 the court reporter of these requirements. Any transcript that is prepared before the expiration of a
19 21-day period for designation shall be treated during that period as if it had been designated
20 “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” in its entirety unless otherwise
21 agreed. After the expiration of that period, the transcript shall be treated only as actually
22 designated.
23                 (c) for information produced in some form other than documentary and for any other

24 tangible items, that the Producing Party affix in a prominent place on the exterior of the container
25 or containers in which the information or item is stored the legend “CONFIDENTIAL” or
26 “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”. If only a portion or portions of the
27 information or item warrant protection, the Producing Party, to the extent practicable, shall
28 identify the protected portion(s) and specify the level of protection being asserted.

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 1                 5.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to

 2 designate qualified information or items does not, standing alone, waive the Designating Party’s
 3 right to secure protection under this Order for such material. Upon timely correction of a
 4 designation, the Receiving Party must make reasonable efforts to assure that the material is treated
 5 in accordance with the provisions of this Order.
 6 VI.             CHALLENGING CONFIDENTIALITY DESIGNATIONS

 7                 6.1   Timing of Challenges. Any Party or Non-Party may challenge a designation of

 8 confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality
 9 designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic
10 burdens, or a significant disruption or delay of the litigation, a Party does not waive its right to
11 challenge a confidentiality designation by electing not to mount a challenge promptly after the
12 original designation is disclosed.
13                 6.2   Meet and Confer. The Challenging Party shall initiate the dispute resolution

14 process by providing written notice of each designation it is challenging and describing the basis
15 for each challenge. To avoid ambiguity as to whether a challenge has been made, the written
16 notice must recite that the challenge to confidentiality is being made in accordance with this
17 specific paragraph of the Protective Order. The parties shall attempt to resolve each challenge in
18 good faith and must begin the process by conferring directly (in voice to voice dialogue; other
19 forms of communication are not sufficient) within 14 days of the date of service of notice. In
20 conferring, the Challenging Party must explain the basis for its belief that the confidentiality
21 designation was not proper and must give the Designating Party an opportunity to review the
22 designated material, to reconsider the circumstances, and, if no change in designation is offered, to
23 explain the basis for the chosen designation. A Challenging Party may proceed to the next stage of
24 the challenge process only if it has engaged in this meet and confer process first or establishes that
25 the Designating Party is unwilling to participate in the meet and confer process in a timely
26 manner.
27                 6.3   Judicial Intervention. If the Parties cannot resolve a challenge without court

28 intervention, the Designating Party shall file and serve a motion to retain confidentiality under

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 1 Civil Local Rule 7 (and in compliance with Civil Local Rule 79-5, if applicable) within 21 days of
 2 the initial notice of challenge or within 14 days of the parties agreeing in writing that the meet and
 3 confer process will not resolve their dispute, whichever is later. Each such motion must be
 4 accompanied by a competent declaration affirming that the movant has complied with the meet
 5 and confer requirements imposed in the preceding paragraph. Failure by the Designating Party to
 6 make such a motion including the required declaration within 21 days (or 14 days, if applicable)
 7 shall automatically waive the confidentiality designation for each challenged designation unless
 8 the Designating Party demonstrates good cause for such delay. In addition, the Challenging Party
 9 may file a motion challenging a confidentiality designation at any time if there is good cause for
10 doing so, including a challenge to the designation of a deposition transcript or any portions
11 thereof. Any motion brought pursuant to this provision must be accompanied by a competent
12 declaration affirming that the movant has complied with the meet and confer requirements
13 imposed by the preceding paragraph.
14                 The burden of persuasion in any such challenge proceeding shall be on the Designating

15 Party. Frivolous challenges and those made for an improper purpose (e.g., to harass or impose
16 unnecessary expenses and burdens on other parties) may expose the Challenging Party to
17 sanctions. Unless the Designating Party has waived the confidentiality designation by failing to
18 file a motion to retain confidentiality as described above, all parties shall continue to afford the
19 material in question the level of protection to which it is entitled under the Producing Party’s
20 designation until the court rules on the challenge.
21 VII.            ACCESS TO AND USE OF PROTECTED MATERIAL

22                 7.1    Basic Principles. A Receiving Party may use Protected Material that is disclosed or

23 produced by another Party or by a Non-Party in connection with this case only for prosecuting,
24 defending, or attempting to settle this litigation. Such Protected Material may be disclosed only to
25 the categories of persons and under the conditions described in this Order. When the litigation has
26 been terminated, a Receiving Party must comply with the provisions of section 15 below (FINAL
27 DISPOSITION).
28                 Protected Material must be stored and maintained by a Receiving Party at a location and in

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 1 a secure manner that ensures that access is limited to the persons authorized under this Order.
 2                 7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered

 3 by the court or permitted in writing by the Designating Party, a Receiving Party may disclose any
 4 information or item designated “CONFIDENTIAL” only to:
 5                 (a) the Receiving Party’s Outside Counsel of Record in this action, as well as employees of

 6 said Outside Counsel of Record to whom it is reasonably necessary to disclose the information for
 7 this litigation and who have signed the “Acknowledgment and Agreement to Be Bound” that is
 8 attached hereto as Exhibit A;
 9                 (b) the Receiving Party, and the officers, directors, and employees (including House

10 Counsel) of the Receiving Party to whom disclosure is reasonably necessary for this litigation and
11 who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
12                 (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure is

13 reasonably necessary for this litigation and who have signed the “Acknowledgment and
14 Agreement to Be Bound” (Exhibit A);
15                 (d) the court and its personnel;

16                 (e) court reporters and their staff, professional jury or trial consultants, and Professional

17 Vendors to whom disclosure is reasonably necessary for this litigation and who have signed the
18 “Acknowledgment and Agreement to Be Bound” (Exhibit A);
19                 (f) during their depositions, witnesses in the action to whom disclosure is reasonably

20 necessary and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A),
21 unless otherwise agreed by the Designating Party or ordered by the court. Pages of
22 transcribed deposition testimony or exhibits to depositions that reveal Protected Material must be
23 separately bound by the court reporter and may not be disclosed to anyone except as permitted
24 under this Stipulated Protective Order.
25                 (g) the author or recipient of a document containing the information or a custodian or other

26 person who otherwise possessed or knew the information.
27                 7.3    Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”

28 Information or Items. Neither the documents designated “HIGHLY CONFIDENTIAL –

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 1 ATTORNEYS’ EYES ONLY” nor its contents shall not be disclosed to any party or putative class
 2 member. Unless otherwise ordered by the court or permitted in writing by the Designating Party, a
 3 Receiving Party may disclose any information or item designated “HIGHLY CONFIDENTIAL –
 4 ATTORNEYS’ EYES ONLY” only to:
 5                 (a) the Receiving Party’s Outside Counsel of Record in this action, as well as employees of

 6 said Outside Counsel of Record to whom it is reasonably necessary to disclose the information for
 7 this litigation and who have signed the “Acknowledgment and Agreement to Be Bound” that is
 8 attached hereto as Exhibit A;
 9                 (c) Experts of the Receiving Party (1) to whom disclosure is reasonably necessary for this

10 litigation, (2) who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A),
11 and (3) as to whom the procedures set forth in paragraph 7.4(a)(2), below, have been followed];
12                 (d) the court and its personnel;

13                 (e) court reporters and their staff, professional jury or trial consultants, and Professional

14 Vendors to whom disclosure is reasonably necessary for this litigation and who have signed the
15 “Acknowledgment and Agreement to Be Bound” (Exhibit A); and
16                 (f) the author or recipient of a document containing the information or a custodian or other

17 person who otherwise possessed or knew the information.
18                 Counsel shall maintain a list of individuals who view these documents. At the conclusion

19 of these proceedings, counsel shall file that list ex parte and under seal.
20                 7.4    Procedures for Approving or Objecting to Disclosure of “HIGHLY

21 CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or Items to Designated House
22 Counsel or Experts.
23                 (a)(1) Unless otherwise ordered by the court or agreed to in writing by the Designating

24 Party, a Party that seeks to disclose to an Expert (as defined in this Order) any information or item
25 that has been designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” pursuant
26 to paragraph 7.3(c) first must make a written request to the Designating Party that (1) identifies the
27 general categories of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information
28 that the Receiving Party seeks permission to disclose to the Expert, (2) sets forth the full name of

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 1 the Expert and the city and state of his or her primary residence, (3) attaches a copy of the Expert’s
 2 current resume, (4) identifies the Expert’s current employer(s), (5) identifies each person or entity
 3 from whom the Expert has received compensation or funding for work in his or her areas of
 4 expertise or to whom the expert has provided professional services, including in connection with a
 5 litigation, at any time during the preceding five years,1 and (6) identifies (by name and number of
 6 the case, filing date, and location of court) any litigation in connection with which the Expert has
 7 offered expert testimony, including through a declaration, report, or testimony at a deposition or
 8 trial, during the preceding five years.
 9                 (b) A Party that makes a request and provides the information specified in the preceding

10 respective paragraphs may disclose the subject Protected Material to the identified Designated
11 House Counsel or Expert unless, within 21 days of delivering the request, the Party receives a
12 written objection from the Designating Party. Any such objection must set forth in detail the
13 grounds on which it is based.
14                 (c) A Party that receives a timely written objection must meet and confer with the

15 Designating Party (through direct voice to voice dialogue) to try to resolve the matter by
16 agreement within seven days of the written objection. If no agreement is reached, the Party
17 seeking to make the disclosure to Designated House Counsel or the Expert may file a motion as
18 provided in Civil Local Rule 7 (and in compliance with Civil Local Rule 79-5, if applicable)
19 seeking permission from the court to do so. Any such motion must describe the circumstances
20 with specificity, set forth in detail the reasons why the disclosure to Designated House Counsel or
21 the Expert is reasonably necessary, assess the risk of harm that the disclosure would entail, and
22 suggest any additional means that could be used to reduce that risk. In addition, any such motion
23 must be accompanied by a competent declaration describing the parties’ efforts to resolve the
24 matter by agreement (i.e., the extent and the content of the meet and confer discussions) and
25 setting forth the reasons advanced by the Designating Party for its refusal to approve the
26
     1
         If the Expert believes any of this information is subject to a confidentiality obligation to a third-
27 party, then the Expert should provide whatever information the Expert believes can be disclosed
     without violating any confidentiality agreements, and the Party seeking to disclose to the Expert
28 shall be available to meet and confer with the Designating Party regarding any such engagement.

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 1 disclosure.
 2                 In any such proceeding, the Party opposing disclosure to Designated House Counsel or the

 3 Expert shall bear the burden of proving that the risk of harm that the disclosure would entail
 4 (under the safeguards proposed) outweighs the Receiving Party’s need to disclose the Protected
 5 Material to its Designated House Counsel or Expert.
 6                 7.5    To the extent that the Court directs that different or modified procedures be

 7 followed concerning the confidential and protected treatment of specific information in the course
 8 of this litigation, the Court’s directions shall govern to the extent they are inconsistent with,
 9 modify, or add to or remove from, the provisions set forth in this Protective Order.
10 VIII. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
                   OTHER LITIGATION
11
                   If a Party is served with a subpoena or a court order issued in other litigation that compels
12
     disclosure of any information or items designated in this action as “CONFIDENTIAL” or
13
     “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” that Party must:
14
                   (a) promptly notify in writing the Designating Party. Such notification shall include a copy
15
     of the subpoena or court order;
16
                   (b) promptly notify in writing the party who caused the subpoena or order to issue in the
17
     other litigation that some or all of the material covered by the subpoena or order is subject to this
18
     Protective Order. Such notification shall include a copy of this Stipulated Protective Order; and
19
                   (c) cooperate with respect to all reasonable procedures sought to be pursued by the
20
     Designating Party whose Protected Material may be affected.
21
                   If the Designating Party timely seeks a protective order, the Party served with the subpoena
22
     or court order shall not produce any information designated in this action as “CONFIDENTIAL”
23
     or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” before a determination by the
24
     court from which the subpoena or order issued, unless the Party has obtained the Designating
25
     Party’s permission. The Designating Party shall bear the burden and expense of seeking protection
26
     in that court of its confidential material – and nothing in these provisions should be construed as
27
     authorizing or encouraging a Receiving Party in this action to disobey a lawful directive from
28

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 1 another court.
 2 IX.             A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN
                   THIS LITIGATION
 3
                   (a)    The terms of this Order are applicable to information produced by a Non-Party in
 4
     this action and designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
 5
     ATTORNEYS’ EYES ONLY.” Such information produced by Non-Parties in connection with
 6
     this litigation is protected by the remedies and relief provided by this Order. Nothing in these
 7
     provisions should be construed as prohibiting a Non-Party from seeking additional protections.
 8
                   (b)    In the event that a Party is required, by a valid discovery request, to produce a Non-
 9
     Party’s confidential information in its possession, and the Party is subject to an agreement with the
10
     Non-Party not to produce the Non-Party’s confidential information, then the Party shall:
11
                          1.      promptly notify in writing the Requesting Party and the Non-Party that
12
     some or all of the information requested is subject to a confidentiality agreement with a Non-
13
     Party;
14
                          2.      promptly provide the Non-Party with a copy of the Stipulated Protective
15
     Order in this litigation, the relevant discovery request(s), and a reasonably specific description of
16
     the information requested; and
17
                          3.      make the information requested available for inspection by the Non-Party.
18
                   (c)    If the Non-Party fails to object or seek a protective order from this court within 14
19
     days of receiving the notice and accompanying information, the Receiving Party may produce the
20
     Non-Party’s confidential information responsive to the discovery request. If the Non-Party timely
21
     seeks a protective order, the Receiving Party shall not produce any information in its possession or
22
     control that is subject to the confidentiality agreement with the Non-Party before a determination
23
     by the court. Absent a court order to the contrary, the Non-Party shall bear the burden and expense
24
     of seeking protection in this court of its Protected Material.
25
     X.            UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
26
                   If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected
27
     Material to any person or in any circumstance not authorized under this Stipulated Protective
28

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 1 Order, the Receiving Party must immediately (a) notify in writing the Designating Party of the
 2 unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the Protected
 3 Material, (c) inform the person or persons to whom unauthorized disclosures were made of all the
 4 terms of this Order, and (d) request such person or persons to execute the “Acknowledgment and
 5 Agreement to Be Bound” that is attached hereto as Exhibit A.
 6 XI.             INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
                   PROTECTED MATERIAL
 7
                   When a Producing Party gives notice to Receiving Parties that certain inadvertently
 8
     produced material is subject to a claim of privilege or other protection, the obligations of the
 9
     Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B), to include the
10
     prompt return, sequestration or destruction of the specified information and any copies they have.
11
     The Receiving Parties must not use or disclose the information until the claim is resolved; it must
12
     take reasonable steps to retrieve the information if the Receiving Parties disclosed it before being
13
     notified of the claim of privilege or other protection. This provision is not intended to modify
14
     whatever procedure may be established in an e-discovery order that provides for production
15
     without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
16
     parties reach an agreement on the effect of disclosure of a communication or information covered
17
     by the attorney-client privilege or work product protection, the parties may incorporate their
18
     agreement in the stipulated protective order submitted to the court.
19
     XII.          MISCELLANEOUS
20
                   14.1   Right to Further Relief. Nothing in this Order abridges the right of any person to
21
     seek its modification by the court in the future.
22
                   14.2   Right to Assert Other Objections. By stipulating to the entry of this Protective
23
     Order no Party waives any right it otherwise would have to object to disclosing or producing any
24
     information or item on any ground not addressed in this Stipulated Protective Order. Similarly, no
25
     Party waives any right to object on any ground to use in evidence of any of the material covered
26
     by this Protective Order.
27
                   14.4   Filing Protected Material. Without written permission from the Designating Party
28

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 1 or a court order secured after appropriate notice to all interested persons, a Party may not file in
 2 the public record in this action any Protected Material. A Party that seeks to file under seal any
 3 Protected Material must comply with Civil Local Rule 79-5. Protected Material may only be filed
 4 under seal pursuant to a court order authorizing the sealing of the specific Protected Material at
 5 issue. Pursuant to Civil Local Rule 79-5, a sealing order will issue only upon a request
 6 establishing that the Protected Material at issue is privileged, protectable as a trade secret, or
 7 otherwise entitled to protection under the law. If a Receiving Party's request to file Protected
 8 Material under seal pursuant to Civil Local Rule 79-5 is denied by the court, then the Receiving
 9 Party must consult with the Designating Party to assess the materiality and relevance of the
10 document. Unless both parties agree not to use the document, the Receiving Party may file the
11 Protected Material in the public record pursuant to Civil Local Rule 79-5 unless otherwise
12 instructed by the court.
13 XIII. FINAL DISPOSITION
14                 Within 60 days after the final disposition of this action, as defined in paragraph 4, each

15 Receiving Party must return all Protected Material to the Producing Party or destroy such material.
16 As used in this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
17 summaries, and any other format reproducing or capturing any of the Protected Material. Whether
18 the Protected Material is returned or destroyed, the Receiving Party must submit a written
19 certification to the Producing Party (and, if not the same person or entity, to the Designating Party)
20 by the 60-day deadline that (1) identifies (by category, where appropriate) all the Protected
21 Material that was returned or destroyed and (2) affirms that the Receiving Party has not retained
22 any copies, abstracts, compilations, summaries or any other format reproducing or capturing any
23 of the Protected Material. Notwithstanding this provision, Counsel are entitled to retain an archival
24 copy of all pleadings, motion papers, trial, deposition, and hearing transcripts, legal memoranda,
25 correspondence, deposition and trial exhibits, expert reports, attorney work product, and
26 consultant and expert work product, even if such materials contain Protected Material. Any such
27 archival copies that contain or constitute Protected Material remain subject to this Protective Order
28 as set forth in Section 4 (DURATION).

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 1                 IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

 2
 3 DATED: January 16th, 2024               Respectfully submitted,

 4                                         RIGHTS BEHIND BARS
                                           CALIFORNIA COLLABORATIVE FOR
 5                                         IMMIGRANT JUSTICE
 6                                         ROSEN BIEN GALVAN & GRUNFELD LLP
                                           ARNOLD & PORTER KAYE SCHOLER LLP
 7
 8                                         By: /s/ Ernest Galvan
                                               Ernest Galvan
 9
10                                         Attorneys for Plaintiffs

11
     DATED: January 16th, 2024             JESSE A. LASLOVICH
12
                                           United States Attorney
13
14                                         /s/ Madison L. Mattioli
                                           MADISON L. MATTIOLI
15                                         ABBIE J.N. CZIOK
                                           MARK STEGER SMITH
16                                         TIMOTHY A. TATARKA
                                           Assistant U.S. Attorneys
17                                         Attorneys for Federal Defendants

18
19
20 PURSUANT TO STIPULATION, IT IS SO ORDERED.
21
22 DATED: ________________________
           January 22, 2024        _____________________________________
                                             Yvonne Gonzalez Rogers
23
                                             United States District Judge
24
25
26
27
28

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